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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION


CHRISTIAN A. GRISSOMr         mECE1VED
  PLAINTIFF,

        v.                   i019 MI 24 A ID 01      Case No.3:19-CV-193-WKW-WC

Verizon Wireless Ic'',,51\ P HACKETT,CL K
                et aC, 9 i ''', V,T COURT
  DEFENDANT(s),                    ,CT PA '\


                          AMENDED COMPLAINT
PLAINTIFF DEMANDS A TRIAL BY JURY.

                                            PARTIES
1. Christian          Andre    Grissom     is   an   inmate in    the Alabama Dept. of
Corrections (A.D.O.C.) at P.O. Box 5107 Union Springs AL,36089.
2. Defendant Verizon Wireless Inc, at Avenue of The America S, New
York, NY,10013.
                                         JURISDICTION
Jurisdiction is given             this United States District pursuant to the
Federal Tort Claims Act (F.T.C.A.).
Jurisdiction is given this United States District pursuant to Title
28U.S.Code Section 1332 - Diversity of Citezenship.
                                            COUNT 1
    The defendant Verizon Wireless Inc, (herein after Verizon) on or
about        August    10,     2014   violated       it's   customer     Christian        Andre
Grissom's (herein after Grissom) right to privacy, his 4th and 14th
amendment rights provided by the United States Const:itution protected
by Title 18, part 1, Chapter 121 U.S.C., the requirements creating
exceptions       to    Grissom's      right     to   privacy     and   his   4th    and   14th
amendment right of the United States Constitution, which states the
following:

 "The right of the people to be secure in    their  person, houses,
papers, and effects, against unresonable searches and seizures,
shall not be violated, and no warrant shall issue, but upon probable
cause, supported by oath or affirmation, and particularly describing
the place to be searched, and the person or things to be seized."

    Verizon      was contacted        by    Sheriff    Heath   Taylor of      the   Russell
County Sheriff's Office on August 7, 2014 under the false premise of
compliance with Title 18, Part 1, Chapter 121 subsection 2703(d)
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U.S.C.     requesting     Grissom's       phone        records      because     a     relevant
investigation was going on of a life threatening situation. Sheriff
Taylor of Russell County never complied with the provisions of title
18, part 1, Chapter 121 U.S.C. as he never submitted any facts,
court order or narrative how Grissom was involved with the request
and what facts substantiating that Keonte S. Chavis was in a life
threatening situation.
     Verizon Wireless Inc, negligently in violation of Grissom's right
to   privacy and 4th and 14th amendment rights, released Grissom's
phone    records   that    were    used    arbitrarily         to   arrest      and   falsely
imprison him.
     Grissom   didn't    become    aware    of     these      violations      until he    was
provided a copy and heard testimony of a suppression hearing August
2017, of Sheriff Taylor's information given to Verizon.


                                          RELIEF
Grissom demands compensatory damages in the ammount of 100,000,000
million.
Grissom    demands      punitive    damages       in    the    ammount     of       50,000,000
million.
Grissom    demands   a    total judgement in            the    ammount of       150,000,000
million.




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